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13
                            UNITED STATES DISTRICT COURT
14
                          CENTRAL DISTRICT OF CALIFORNIA
15
     TYLER JONES, an Individual,               Case No. 5:20-cv-01150-JGB-KK
16
17                    Plaintiff,
                                             NOTICE OF SETTLEMENT
18          vs.

19   BNSF RAILWAY COMPANY, et. al.,

20                       Defendants.

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                                   NOTICE OF SETTLEMENT
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 1        TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
 2   DISTRICT OF CALIFORNIA:
 3        PLEASE TAKE NOTICE THAT Plaintiff Tyler Jones and Defendant BNSF
 4   Railway Company have reached an agreement to fully resolve all outstanding issues
 5   in this litigation. The parties expect to file a Stipulation of Dismissal within the next
 6   thirty (30) days.
 7        Plaintiff is filing this Notice with Defendant’s approval and permission.
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 9
10   Dated: July 12, 2022         ROSTON LAW GROUP, APC
11                                    Matthew E. Roston
12
13                                   By: ___/s Matthew E. Roston_______________
                                                      Matthew E. Roston
14
                                     Attorneys for Plaintiff
15                                   Tyler Jones
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                                 NOTICE OF SETTLEMENT
